AO 91 (Rev. I mM 1) Criminal Complaint U N D ER S

UNITED STATES DISTRICT COURT ~ TT eo

 

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Eastern District of Virginia

  

 

 

 

United States of America )
v. )
ANDREW JON THOMASBERG ) Case No.
) 1:19-mj-407
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 18, 2017 in the county of . Fairfax & Loudoun in the
Eastern District of Virginia , the defendant(s) violated:
Cade Section Offense Description
18 USC § 922(a)(6) False Statement during Acquisition of a Firearm; and
18 USC § 922(g)(3) Possession of Firearm by Controlled Substance Abuser

This criminal complaint is based on these facts:

(See attached affidavit.)

O Continued on the attached sheet. /Y, /

SAUSA Anthony Mariano/AUSA William Fitzpatrick f° Complainant's signature
, Shawn Matthew, Special Agent, FBI

Printed name and title

 

Sworn to. before me and signed in my presence. Is!

. T ol! Buchanan
a\\a United States Magistrate Judge
Date:

Judge’s signature

 

City and state: Alexandria, VA "Hon. Theresa Carroll Buchanan, U.S. Magistrate Judge
Printed name and title
